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UNITED STATES BANKRUPTCY COURT
SOUTHER DISTRICT OF NEW YORK
Attorneys for Secured Creditor NBE
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(212) 697-6484

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
In re
                                                                        Chapter 11
96 Wythe Acquisition LLC,

                                             Debtor.                    Case No. 21-22108
------------------------------------------------------------X


      JOINDER OF NBE PLUMBING CORP TO UNITED STATES TRUSTEE’S
     OBJECTION TO THE CONFIRMATION OF DEBTOR’S SECOND AMENDED
                          CHAPTER 11 PLAN.


TO THE HONORABLE ROBERT D. DRAIN,
UNITED STATES BANKRUPTCY JUDGE:


        NBE Plumbing Corp a/k/a NBE Plumbing (“NBE”), by and through its undersigned

counsel, joins in the Objection of the United States Trustee in its objection (the “Objection”) Dkt.

No. 318 to confirmation of the Debtor’s Second Amended Chapter 11 Plan of Reorganization of

the Debtor (the “Plan”) attached to the Third Amended Disclosure Statement (the “Disclosure

Statement”) Dkt. No. 196 to the extent that it would not permit creditors who were not permitted to

vote to opt out and are forced to be subject to the third-party releases.

       1. On May 11, 2021, the Claimant filed its claim, Claim Number 4, as secured claim in the

amount of $103,157.16.

       2. On or about December 23, 2021, the Debtor objected to NBE’s Claim. Dkt. No. 251.

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       3. The objection prevented NBE from voting and “opting out.”

       4. The principals of the Debtor, Toby Moskovitz Yechiel Michael Lichtenstein each

executed a personal promissory note. Additionally, Mr. Lichtenstein entered into a confession

which was reduced to a judgment.         See the Declaration (“Guttman Declaration”) of JOEL

GUTTMAN and Exhibits in Support to the Response of NBE Plumbing to Debtor’s Objection to

Claim No. 4 Dkt. No. 327.

       5. NBE joins in the arguments raised in the Objection and adopts and incorporates such

arguments as if more fully set forth herein.

       6. NBE respectfully requests the right to present argument on this Objection at the time of

hearing, and that this right to present argument continue and remain even if the United States

Trustee withdraws or otherwise resolves the Objection.

       7. NBE has respectfully requests that this Honorable Court deny the relief sought by the

Debtor with respect the involuntary third-party releases.

DATED: January 25, 2022
Brooklyn, New York

        By: /s/ Peretz Bronstein
        Peretz Bronstein [PB8628]
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